Case: 3:16-cv-00092-GFVT-EBA Doc #: 25 Filed: 11/01/17 Page: 1 of 1 - Page ID#: 148




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT

                                               )
BENNIE L. HART,                                )
                                               )       Civil No. 3:16-cv-00092-GFVT
      Plaintiff,                               )
                                               )
V.                                             )                  ORDER
                                               )
GREG THOMAS, in his official capacity as
                                               )
Secretary of the Kentucky Transportation       )
Cabinet,                                       )
      Defendant.
                                     *** *** *** ***
        Upon the motion to withdraw as counsel by William Sharp for the Plaintiff [R. 22], his

 representation that he complied with Local Rule 83.6, and the Court being otherwise sufficiently

 advised:

        The appearance of William E. Sharp is WITHDRAWN in this matter and electronic

 notifications of filings to Mr. Sharp are TERMINATED. [R. 22.]

                  1st day of November, 2017.
        This the ___
